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 8
                                   UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA

10   THE LOUIS D. BRANDEIS CENTER, INC.,
     JEWISH AMERICANS FOR FAIRNESS IN                          Case No. 3:23-cv-06133-JD
11   EDUCATION (JAFE)
                                                               MOTION FOR ADMITTING
12                 Plaintiffs,                                 ADDITIONAL INTERVENORS
13          vs.                                                Hearing Date:    December 19, 2024
14                                                             Time:            10:00 a.m.
     REGENTS OF THE UNIVERSITY OF
     CALIFORNIA; UNIVERSITY OF CALIFORNIA AT                   Place:           Courtroom 11
15   BERKELEY; BERKELEY LAW SCHOOL;                            Judge:           Hon. James Donato
     MICHAEL DRAKE, in his official capacity as
16   President of the University of California; CAROL T.
     CHRIST, in her official capacity as Chancellor of the
17   University of California, Berkeley; BEN
18   HERMALIN, in his official capacity as Provost of the
     University of California,
19
                   Defendants,
20
            and
21
     MALAK AFANEH, ZAID YOUSEF, SHMUEL
22   (MUKI) BARKAN, BERKELEY LAW STUDENT
     #1, ISAAC (IZZY) TRAGARZ
23
                   Student Intervenor-Defendants.
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 1                                               MOTION

 2          (The Court should note that the Student Defendants are awaiting decisions on UC’s Motion

 3   to Dismiss and on the Student Defendants’ motions regarding certain students proceeding

 4   pseudonymously and adding intervenors—which may affect the claims and parties—before filing

 5   our Answer.)

 6          PLEASE TAKE NOTICE that on December 19, 2024, at 10:00 a.m., in Courtroom 11,

 7   19th Floor, 450 Golden Gate Avenue, San Francisco, California of the above-entitled Court, Malak

 8   Afaneh, Zaid Yousef, Muki Barkan, Berkeley Law Student #1, and Isaac Tragarz (“the Student

 9   Defendants”) will move and do move this Court to grant permissive intervention under Rule 24(b)

10   to certain additional individuals and organizations, as described below, based on the criteria set

11   indicated by the Court in its October 25, 2024 order. (Dkt. No. 84)

12                  STATEMENT OF RELIEF SOUGHT, POSITIONS OF PARTIES

13          The Student Defendants—together with Berkeley Law Jews for Palestine (BLJ4P),

14   Berkeley Muslim Student Association, the UC-Berkeley chapter of the Coalition to Defend

15   Affirmative Action, Integration and Immigrant Rights and Fight for Equality By Any Means

16   Necessary (“UCB BAMN”), James Alsip, Dr. Benjamin Lynch , and UCB Undergraduate Student

17   #1 (collectively “the Prospective Intervenors”)—ask the Court to grant these additional individuals

18   and organizations permissive intervention under Rule 24(b).

19          On November 11, 2024, counsel for the Student Defendants reached out to Plaintiffs and

20   the University of California (UC) Defendants and asked for their position on this Motion. Plaintiffs

21   stated that they oppose this Motion. The UC Defendants take no position on this Motion.

22                       MEMORANDUM OF POINTS AND AUTHORITIES

23                                      ISSUE TO BE DECIDED

24          Whether additional intervenor organizations and individuals, most of whom were part of

25   the original Motion for Intervention (Dkt. No. 75), meet the Court’s criteria for permissive

26   intervention in this case that were indicated for the first time in its Order Re Motion to Intervene

27   (Dkt. No. 84).

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 1                                           INTRODUCTION

 2          In the Court’s Order Re Motion to Intervene (Dkt. No. 84) (“the Order”), it granted

 3   permissive intervention to six individual Student Defendants, while denying it to four

 4   organizations and the remaining 27 individuals who had submitted the Motion for Intervention

 5   (Dkt. No. 75). At this time, the Student Defendants do not challenge the Court’s criteria for

 6   determining who may become a party in this case.1 However, the Student Defendants and several

 7   Prospective Intervenors move the Court to grant the latter permissive intervention as well, based

 8   on the criteria that they were made aware of for the first time in the Court’s order.

 9                          THE COURT’S CRITERIA FROM ITS ORDER

10          The Court set forth the following criteria for who would be granted permissive

11   intervention: “current UC Berkeley students, who either are members of the student organizations

12   that authored or adopted the challenged bylaw or participated in the on-campus encampment that

13   partially grounds plaintiffs’ claims, and are, based on intervenors’ representations, likely to

14   continue to engage in similar protests.” Order, 2.

15          With regard to student organizations, the Court required that an organization have “adopted

16   the challenged bylaw or hosted or endorsed relevant on-campus protests.” Order, 2, fn. 1. Further,

17   a group must establish a “foundation to establish that intervention is being sought by someone

18   authorized to act on behalf of the organization.” Id. Further, the Court required that intervenors

19   have “meaningful ties to UC-Berkeley.” Order, 1.

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27     The Court has not ruled on the UC Defendants’ motion to dismiss, which included an objecting
     to standing for the Plaintiffs. The Student Defendants reserve the right to object to the exclusion
28   of Prospective Intervenors based on the criteria the Court sets for standing for the Plaintiffs.
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 1                                              ARGUMENT

 2           At this time, the Student Defendants and Prospective Intervenors accept the Court’s criteria

 3   for determining who may become a party. See footnote 1 supra. Now that they are aware of them,

 4   they ask the Court to consider the following Prospective Intervenors for the given reasons.

 5      I.      Berkeley Law Jews for Palestine (BLJ4P)

 6           The Court denied permissive intervention to BLJ4P in its Order, stating: “A student

 7   intervenor’s assertion of being a “member and representative” of that organization is too thin a

 8   foundation to establish that intervention is being sought by someone authorized to act on behalf of

 9   the organization.” Order, 2, fn. 1.

10           The Prospective Intervenors are unaware of any case law requiring that an individual be

11   authorized to represent an organizational party, let alone require more than what Shmuel (Muki)

12   Barkan already provided in their first declaration. And in this case, as far as the Student Defendants

13   are aware, the Brandeis Center and Jewish Americans for Fairness (JAFE) are being allowed to

14   proceed as plaintiff organizations without having to provide named individuals to be their

15   designated representatives. Neither the Student Defendants nor Prospective Intervenors ask that to

16   be required.

17           Nevertheless, with this motion, BLJ4P provides a sworn declaration signed by ten members

18   of the group affirming that the group voted on November 9, 2024 to authorize Shmuel (Muki)

19   Barkan and Berkeley Law Student #1 to act on behalf of BLJ4P, and establishing that the group is

20   a caucus of Law Students for Justice in Palestine (LSJP) which adopted the pro-Palestine bylaw.

21   Further, it co-sponsored the Spring 2024 pro-Palestine encampment and its members camped out,

22   rallied, volunteered, provided logistical support, and organized others to join the encampment.

23   Additionally, it has published a blog defending the pro-Palestine bylaw freedom of speech and

24   acted in concert with other organizations and individuals comprising LSJP to support Palestinian

25   freedom. See Declaration of BLJ4P.

26           It is also important to allow BLJ4P to be an intervenor organization because, for the vast

27   majority of its members, including Berkeley Law Student #1, the experience of so many law

28   students getting doxxed, retaliated against, harassed, and losing job offers makes them fearful of

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 1   being publicly-named intervenors. See 3rd Declaration of Shmuel Barkan and Declaration of

 2   Malak Afaneh in support of Motion to Allow Certain Student Defendants to Proceed Under a

 3   Pseudonym. Allowing BLJ4P to be an intervenor allows Jewish students who defend Palestine in

 4   this case on an equal basis as Jewish students who side with the Israeli government’s actions.

 5   BLJ4P Decl. ❡9, 10.2

 6       II.      Berkeley Muslim Student Association (MSA)

 7             The Court denied permissive intervention to Berkeley MSA, stating: “[N]either intervenors

 8   nor plaintiffs allege that the organization has adopted the challenged bylaw or hosted or endorsed

 9   relevant on-campus protests.” Order, 2, fn. 1.

10             The Motion for Intervention included an abridged version of MSA’s registered group

11   description as a social and religious organization for Muslim UCB students,3 in support of MSA’s

12   interest of being free from Islamophobia and anti-Arab and anti-Palestinian discrimination. Now

13   that the Court has indicated its specific criteria of whom it will grant permissive intervention, MSA

14   submits that it has additionally hosted and endorsed pro-Palestine protests.

15             MSA was among the first signatory organizations of the UC-Berkeley Divest Coalition,

16   joining the announcement of its formation in April 2022. Together with those organizations, MSA

17   co-sponsored the Spring 2024 encampment for Palestine.4

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       The willingness of Shmuel (Muki) Barkan (they/them) to be named is a case of the exception
19   proving the rule. Barkan does not feel they are under the same danger of retaliation for their
     participation in this case, because (1) they already have a job lined up post-graduation from an
20
     employer who already knows about their pro-Palestine activity, and (2) they are a dual citizen of
21   the United States and Israel which provides some degree of protection, as they do not believe
     that right-wing organizations want to increase the profile of an Israeli-American Jew who
22   opposes Israel’s policies. Barkan Decl. ❡❡15-16.
     3
23     See MSA’s group description on the UCB website, available at:
     https://callink.berkeley.edu/organization/MSA
     4
24     The UCB Divest Coalition’s April 2022 announcement of its formation on Instagram is
     available at: https://www.instagram.com/p/C5j3JUwv-
25   1e/?utm_source=ig_web_copy_link&igsh=MzRlODBiNWFlZA==
26   The Coalition’s statement with a list of its member organizations is available at:
     https://docs.google.com/document/u/2/d/e/2PACX-
27   1vR4TTJDE7XaUkb9FiwcQCSbBmiUkB4lgC95BkAwcsaZlfKtcF1lmxH5S5yeKBZiEhcuUAX
     mZWPc3ppY/pub
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 1           MSA has used its Instagram page, which has more than 4,000 followers, to endorse

 2   numerous pro-Palestine protests at UC-Berkeley. MSA raised awareness and organized its

 3   members and other students and community members to join and/or support the Spring 2024

 4   occupation.5 While supporting the walk-out of UC-Berkeley’s May 2024 convocation ceremony,

 5   it wrote “there will be NO BUSINESS AS USUAL until this university divests fully from Israel,

 6   condemns Israel’s genocidal actions, follows through with an academic boycott of Israeli

 7   institutions upholding apartheid, and ended the suppression of protests on campus fighting for

 8   justice and equality for all!”6

 9           MSA also joined the Motion for Intervention, expressing much of the same criticism of

10   Israel that the Plaintiffs target in this suit as being “antisemitic.” (Dkt. No. 75) On August 19, 2024

11   Student Defendant Zaid Yousef addressed the media opposing Israel’s genocide and defending

12   pro-Palestine speech, identifying himself as Berkeley MSA’s president.7

13           If the Court chooses to require MSA to have an authorized representative, Zaid Yousef, as

14   its elected president, can continue to represent Berkeley MSA as its representative in this case. If

15   more verification is required, MSA can and will provide it.

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19   The Coalition hosted and endorsed the Spring 2024 UCB encampment for Palestine: “Following
20   a climate strike on the steps of Sproul Hall, roughly 250 students and community members
     joined a rally organized by the UC Berkeley Divestment Coalition to protest the ongoing
21   violence in Palestine, ending with an announcement declaring Day 1 of a ‘Free Palestine
     Encampment.’ The coalition includes several groups on campus — such as Bears for Palestine,
22   the Muslim Student Association, UC Divest, Jewish Voice for Peace and many others —
23   according to Malak Afaneh, the co-president of Law Students for Justice in Palestine.”
     “Hundreds rally for Palestine on Sproul ahead of encampment” (April 22, 2024) (emphasis
24   added) Available at: https://www.dailycal.org/news/campus/student-life/hundreds-rally-for-
     palestine-on-sproul-ahead-of-encampment/article_0dcdd92c-010a-11ef-9be0-17e874168f19.html
25   5
       MSA’s Instagram “Posts” and “Reels,” available at: https://www.instagram.com/calmsa/
     6
26     See the May 2024 MSA instagram post, available at:
     https://www.instagram.com/reel/C69llznStkd/?utm_source=ig_web_copy_link&igsh=MzRlODB
27   iNWFlZA==
     7
       See the ABC 7 news story (at 1:18 and 1:30): https://abc7news.com/post/uc-president-vows-
28   enforce-protest-rules-like-bans-campus-encampments-identity-concealing-masks/15206305/
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 1      III.      UCB BAMN

 2             The Court’s order did not specifically address the Coalition to Defend Affirmative Action,

 3   Integration and Immigrant Rights and Fight for Equality By Any Means Necessary (BAMN) while

 4   denying its intervention. The Student Defendants and Prospective Intervenors understand that the

 5   Court’s criteria include that a group have “meaningful ties to UC-Berkeley” and that it “host or

 6   endorse relevant on-campus protests.” (Order, at 1-2) The original Motion for Intervention did not

 7   state that it has a chapter at UC-Berkeley.

 8             Now that the Court has indicated its criteria, BAMN hereby clarifies to the Court that it is

 9   a registered organization at UC-Berkeley, where it in fact was founded in 1995. See Declaration of

10   Dr. Benjamin Lynch, ❡9.

11             BAMN’s UCB chapter (“UCB BAMN”) initiated and has spearheaded this legal

12   intervention, as described below. As the group that initiated and is leading this intervention, it

13   should be permitted to intervene.

14             UCB BAMN has engaged in speech activities, hosted, and sponsored pro-Palestine protests

15   that leave no doubt that it would be affected by the outcome of this lawsuit. It has long called for

16   support for the Palestinian human rights and freedom, especially in the wake of the conflict in

17   Gaza over the past year . Id., ❡11. Since October 7, 2023, UCB BAMN has circulated flyers at

18   UC-Berkeley calling for a free Palestine in defense of pro-Palestinian student speech and academic

19   freedom. Id., ❡12; During the Spring 2024 encampment for Palestine, UCB BAMN members

20   joined the encampment as well as encampment teach-ins and rallies; BAMN mobilized students

21   to defend the UCB and other UC encampments in case of harassment and possible repression. Id.,

22   ❡ 13. EXHIBIT A (BAMN flyer “Hands Off Our Encampments!”)

23             From January to July 2024, UCB BAMN organized to defeat UC Regent Jay Sures’

24   proposal to censor pro-Palestine speech on university websites. UCB BAMN gathered more than

25   one thousand signatures of UC-Berkeley students on a petition to stop this proposal (EXHIBIT B),

26   held a protest on UCB’s Sproul Plaza in March 2024, and sponsored participation in and public

27   statements at the UC Regents’ meetings in March, May, and July 2024. Id., ❡14; EXHIBIT C.

28   BAMN spearheaded a broad-based alliance of graduate student unions, the union representing UC

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 1   Berkeley instructors (UC-American Federation of Teachers), and the UC-wide Academic Council

 2   representing all ten campuses to oppose Sures’ proposal that succeeded in winning significant

 3   revisions. Id., ❡15. EXHIBIT D ((UC AFT Local 1474 letter) and EXHIBIT E (UC Academic

 4   Council letter).

 5             In Winter-Spring 2023-24, UCB BAMN successfully defended a UCB Electrical

 6   Engineering and Computer Sciences instructor who faced disciplinary action for speaking in

 7   support of Palestine, whom the Plaintiffs describe in their First Amended Complaint. FAC ❡113.

 8   BAMN legally represented that instructor in his investigatory meeting with UCB. Lynch Decl.,

 9   ❡18.

10             UCB BAMN initiated and has spearheaded this legal intervention. Starting in May 2024,

11   it recruited UCB students to join the Motion to Intervene in this case to defend pro-Palestine free

12   speech. It held press conferences at UCB’s Sproul Plaza on August 19, 2024 and October 28, 2024

13   supporting this intervention and calling for a free Palestine. Id., ❡16-17; also see Declaration of

14   James Alsip, ❡12.

15             Lastly, UCB BAMN has voted to authorize its group signatories, who include James Alsip

16   and Dr. Benjamin Lynch and UCB Undergraduate Student #1, to represent it if it is allowed to be

17   an intervenor in this case. Further, signatories agree to be “an agent on behalf of the group” and to

18   “voluntarily assume responsibility for the activities and conduct of the organization.” Lynch Decl.,

19   ❡❡4-5; Alsip Decl,. ❡13-14.

20       IV.      James Alsip

21             James Alsip is a UC-Berkeley student and a member and group signatory of UCB BAMN

22   who camped out during the Spring 2024 encampment for Palestine, who seeks to join the Student

23   Defendants in this case.

24             As a group signatory, Alsip is subject to discipline from the UCB administration if UCB

25   BAMN is deemed to have violated the UC-Berkeley Code of Conduct, other UCB rules, or any

26   law.8

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      UC-Berkeley website on the responsibilities of signatories: https://lead.berkeley.edu/student-
28   orgs/manage-your-org/
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 1           Since October 7, 2024, Mr. Alsip has attended about a dozen protests at UC-Berkeley,

 2   including protests by UCB BAMN, opposing Israel’s genocide and demanding freedom for the

 3   Palestinians. Alsip Decl., ❡4-5, 7-9. For 8 days he slept overnight at UCB’s pro-Palestine

 4   encampment, attended all meetings, attended teach-ins and deescalation trainings, and volunteered

 5   with trash clean-up and food distribution. Id., ❡5.

 6           With UCB BAMN, Mr. Alsip has joined press conferences and rallies calling for a free

 7   Palestine and supporting the intervenors in this case. Id., ❡7-9. He plans to continue to join protests

 8   for Palestinian freedom and liberation and for divestment. Id., ❡10.

 9           If the Court requires an authorized representative, UCB BAMN has authorized its

10   signatories to represent it in this case. Id., ❡14; Lynch Decl., ❡4. Further, group signatories

11   “assume[s] responsibility for the activities and conduct of the organization.” See footnote 8 supra.

12      V.      Dr. Benjamin Lynch

13           Dr. Benjamin Lynch is a UC-Berkeley staff member who is a member of and a group

14   signatory for UCB BAMN. He was part of the original Motion for Intervention, but it stated

15   incorrectly that he was only affiliated with UCLA. Now that the Order indicates the Court’s

16   criteria, Dr. Lynch includes a declaration clarifying that he is a Researcher at UC-Berkeley and

17   UCLA. He is a group signatory for UCB BAMN, and “only UC Berkeley students, staff, or faculty

18   may serve as signatories.” Lynch Decl., ❡1; EXHIBITS F and G.

19           Dr. Lynch has been a UCB BAMN group signatory since approximately 2008. Lynch Decl.,

20   ❡1. He would be directly affected by a court order that limits UCB BAMN’s ability to hold and

21   sponsor events for Palestine on campus. Id., ❡2. Further, like Mr. Alsip, as a signatory Dr. Lynch

22   “assume[s] responsibility for the activities and conduct of the organization,” and he would be

23   subject to discipline from the UC-Berkeley administration if UCB BAMN is deemed to have

24   violated the UC-Berkeley Code of Conduct or any other law. See footnote 8 supra.

25           With UCB BAMN, Dr. Lynch has put out its statement calling for a free Palestine,

26   organized to defeat UC Regents Jay Sures’ proposal to censor pro-Palestine speech, and protested

27   at UC Regents’ meetings. Id., ❡12. He participated in the defense of the UCLA encampment from

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 1   the UCLA administration and LAPD. Id., ❡13. He spoke at UCB BAMN’s press conference at

 2   UCB’s Sproul Plaza on August 19, 2024 supporting Palestine. Id., ❡17.

 3             Importantly, without Dr. Lynch there would be no UCB staff member who would be

 4   represented in this case. Staff members are subject to the University Code of Conduct and are

 5   vulnerable to other forms of reprisal including loss of employment, and the plaintiffs seek a judicial

 6   declaration that opposition to Israel’s policies amounts to “antisemitism.”

 7       VI.      UCB Undergraduate Student #1

 8             UCB Undergraduate Student #19 is a UC-Berkeley student who was part of the original

 9   Motion for Intervention. Now that the Court has indicated its criteria for intervention the Student

10   Intervenors submit the following information in support of the student’s request to join the Student

11   Defendants in this case. UCB Undergraduate Student #1 is a member and group signatory for UCB

12   BAMN. Declaration of UCB Undergraduate Student #1, ❡❡ 1,4,10-11. Like Mr. Alsip, as a

13   signatory this student “assume[s] responsibility for the activities and conduct of the organization.”

14   See footnote 8 supra.

15             UCB Undergraduate Student #1 attended multiple protests for Palestine, including protests

16   by UCB BAMN. This student regularly participated in rallies at the UCB encampment for

17   Palestine in April-May 2024. The student attended encampment teach-ins, and was ready to

18   mobilize to any emergency response protest if the encampment came under attack by the police or

19   anti-Palestine protesters. Id., ❡❡ 5-6. This student plans to continue to sponsor, hold, and join

20   protests with UCB BAMN for Palestinian freedom and liberation. Id., ❡7.

21                                             CONCLUSION

22             For the reasons stated above, the Court should grant permissive intervention to the

23   Prospective Intervenors.

24                                                    By the Student Defendants’ Attorneys,
                                                      UNITED FOR EQUALITY AND AFFIRMATIVE
25
                                                      ACTION LEGAL DEFENSE FUND (UEAALDF)
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     9
      The Student Defendants also submit, concurrently with this Motion, a motion to allow Berkeley
28   Law Student #1 and UCB Undergraduate Student #1 to proceed pseudonymously.
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 1                                  Date: November 12, 2024
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